                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


NICOLE MILLER,

                       Plaintiff,

               v.                                             Case No. 21-C-551

RPHLINK, LLC and
JUDE P. JEAN-PIERRE,

                       Defendants.


                                             ORDER


       Having reviewed the Parties’ Joint Motion for Court Approval of Settlement and its

supporting materials and found that the Parties’ Settlement reflects a fair, reasonable, and adequate

resolution of bona fide disputes of Plaintiff’s FLSA and Wisconsin unpaid wages claims, IT IS

HEREBY ORDERED that:

       1.      The Parties’ Settlement Agreement is approved; and

       2.      This matter shall be administratively closed pending Defendants’ fulfillment of the

settlement agreement’s payment provisions.

       Dated at Green Bay, Wisconsin this 3rd day of September, 2021.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




         Case 1:21-cv-00551-WCG Filed 09/03/21 Page 1 of 1 Document 20
